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                                       No. 23-12313

                   UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT
                                Hispanic Federation et al.,
                                 Plaintiffs-Appellees,
                                            v.
                                   Cord Byrd et al.,
                               Defendants-Appellants.

 U.S. District Court for the Northern District of Florida, 4:23-cv-218 (Walker, C.J.)

                            MOTION TO EXPEDITE

 Mohammad O. Jazil                               Henry C. Whitaker
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Secretary of State Byrd                          Attorney General Moody
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                        Hispanic Federation et al. v. Cord Byrd et al.,
                                          23-12313
              CERTIFICATE OF INTERESTED PERSONS AND
                CORPORATE DISCLOSURE STATEMENT
      Per Rule 26.1 and Circuit Rule 26.1, all parties certify that the following have an

interest in the outcome of this case:

      1.     Alicea, Delmarie, Counsel for Plaintiffs

      2.     Beato, Michael, Counsel for Defendant

      3.     Bell, Daniel, Counsel for Defendant

      4.     Byrd, Cord, Defendant

      5.     Campbell-Harris, Dayton, Counsel for Plaintiffs

      6.     Cruz, Roberto, Counsel for Plaintiffs

      7.     Darlington, Andrew, Declarant for Defendants

      8.     Davis, Ashley, Counsel for Defendant

      9.     Derieux, Adriel, Counsel for Plaintiffs

      10.    Doe, A, Plaintiff

      11.    Doe, B, Plaintiff

      12.    Ebenstein, Julie, Counsel for Plaintiffs,

      13.    Ellis, Rayne, Counsel for Plaintiffs

      14.    Herrera-Lucha, Veronica, Plaintiff

      15.    Hispanic Federation, Plaintiff

      16.    Jazil, Mohammad, Counsel for Defendant

      17.    Karpatkin, Jeremy, Counsel for Plaintiffs

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   18.   Keenan, Megan, Counsel for Plaintiffs

   19.   Konor, Estee, Counsel for Plaintiffs

   20.   Lakin, Sophia, Counsel for Plaintiffs

   21.   Martinez, Norka, Plaintiff

   22.   McVay, Bradley R., Counsel for Defendant

   23.   Moody, Ashley, Defendant

   24.   Morse Stephanie, Counsel for Defendant

   25.   Poder Latinx, Plaintiff

   26.   Pratt, Joshua, Counsel for Defendant

   27.   Preminger, Evan, Counsel for Plaintiffs

   28.   Ruiz, Cesar, Counsel for Plaintiffs

   29.   Sjostrom, Noah, Counsel for Defendant

   30.   Tilley, Daniel, Counsel for Plaintiffs

   31.   Van De Bogart, Joseph, Counsel for Defendant

   32.   Walker, Mark E., U.S. District Court Judge

   33.   Warren, Nicholas, Counsel for Plaintiffs

   34.   Whitaker, Henry, Counsel for Defendant




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                                            23-12313
         Per Circuit Rule 26.1-2(c), all parties certify that the CIP contained herein is com-

plete.

         Dated: October 10, 2023, 2023


 /s/ Mohammad O. Jazil                /s/ Henry C. Whitaker
 Lead Counsel for Defendant-Appellant Lead Counsel for Defendant-Appellant
 Secretary of State Byrd              Attorney General Moody




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                                  MEMORANDUM

      Defendants-Appellants Secretary Byrd and Attorney General Moody, under Fed-

eral Rule of Appellate Procedure 2 and Rule 27, as well as Eleventh Circuit Local Rule

2-1 and Rule 27-1, move this Court to expedite (1) the resolution of the previously filed

motion to consolidate, (2) oral argument, and (3) the resolution of this appeal.

      An expedited resolution of the motion to consolidate (which has paused the ap-

pellate briefing schedule), see Sept. 22, 2023 Docket Entry, and an expedited resolution

of this appeal would benefit the parties and the public interest.

      By way of background, this case and the parallel Florida State Conference of Branches

and Youth Units of the NAACP v. Byrd, 23-12308 (11th Cir.), are challenges to Florida’s

most recent election-reform package, SB 7050. In both cases, the same district court

judge, in the same order, preliminarily enjoined several provisions of SB 7050. Appeals

were timely filed in both cases. Secretary Byrd and Attorney General Moody moved to

consolidate the two appeals on August 21, 2023—and on the same day—filed their

initial briefs in both cases. Appendices were filed the following week.

      Below, the cases are currently working their way before the district court, and

the consolidated bench trial begins April 1, 2024. 2024 is a presidential election year,

and Florida officials are preparing themselves for the upcoming election.

      An expedited resolution of this appeal would benefit the parties. The consoli-

dated bench trial is quickly approaching, and this Court can provide appellate guidance

to the parties (and the district court) on several legal challenges to SB 7050. An
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expedited resolution would also benefit the public. Reducing the legal uncertainty of

election laws during a presidential election year would promote efficient election ad-

ministration and would improve public confidence in the election. See, e.g., Purcell v.

Gonzalez, 549 U.S. 1, 4-5 (2006).

      Plaintiffs don’t oppose expediting the motion to consolidate, but they oppose

expediting the other matters.

      For these reasons, Secretary Byrd and Attorney General Moody ask this Court

to grant their motion.




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Dated: October 10, 2023                   Respectfully Submitted,

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                                          State Cord Byrd




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                      CERTIFICATE OF COMPLIANCE

      I certify that the foregoing complies with the typeface and type-style require-

ments of Rule 32.

Dated: October 10, 2023                        /s/ Mohammad O. Jazil
                                               Mohammad O. Jazil


                          CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing certificate was filed on ECF.

Dated: October 10, 2023                        /s/ Mohammad O. Jazil
                                               Mohammad O. Jazil




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